                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
v.                                                 )             No. 3:08-CR-47
                                                   )             (PHILLIPS/GUYTON)
FRANK SOUTO,                                       )
                                                   )             FILED UNDER SEAL
                      Defendant.                   )

                                               ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This matter is before the Court on the government’s sealed Motion

for Leave to File Document Under Seal [Doc. 76], which was filed on November 19, 2008. The

motion requests that Defendant Frank Souto’s plea agreement be filed under seal with the exception

that counsel for the parties have access to it on the Court’s Electronic Filing System (ECF). The

Court finds the motion to be well-taken and it [Doc. 76] is GRANTED. Defendant Frank Souto’s

plea agreement will be FILED UNDER SEAL,1 except that the Clerk will arrange the settings in

ECF to permit the parties electronic access.

               IT IS SO ORDERED.

                                               ENTER nunc pro tunc to November 19, 2008:

                                                    s/ H. Bruce Guyton
                                               United States Magistrate Judge




       1
       It appears that the plea agreement [Doc. 77] was filed under seal on November 19, 2008.
Accordingly, the Court is entering this Order nunc pro tunc to November 19, 2008.


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